Case 3:13-cv-01140-WWE Document 69-11 Filed 03/16/15 Page 1 of 2

To: All Local 35 Employees
Subject: Custodial Team Leader Position Information Sessions -

As many of you have already heard, the University and locals 34 and 35 have recently
settled contracts. As part of the historic agreement, the University and Local 35, in the
spirit of progress and growth have mutually recognized and agreed upon the need for

change.

To this end, a new custodial service model has jointly been developed which is referred
to as the Custodial Team Performance and Leader Program. The program is anew
business model for providing custodial services to University buildings that is intended to
yield higher levels of customer satisfaction, quality of service and productivity. An
important eliminate of the program was the creation of a new local 35 position called the
Custodial Team Leader which is classified at grade 10. A copy of the agreement and job

description is attached.

At this time both the Union and University leadership are working together to begin
implementation of this program and we expect to launch the pilot program in early
September 2009, Since many of you may be interested in this opportunity, information
sessions will be scheduled providing an overview of the program, job requirements,
training requirements and schedule, and bidding information. Information session will be
held on the following schedule and representatives from the Union and University will be

available to answer questions:

Area Date & Time Location
YSM Tuesday, June 9 @ 8:00am TBD
Central Tuesday, June 9 @ 1:00pm TBD

Science Wednesday, June 10@ 10:00am TBD
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oS, To: All Local 35 Employees
© Subject: IMPORTANT UPDATES TO THE BIDDING PROCESS
Se As many of you have already heard, the University and locals 34 and 35 have recently
Y settled contracts. As part of the historic agreement, the University and Local 35, in the spirit
ee, of progress and growth have mutually recognized and agreed upon the need for change.
le Selection will be based on individual qualifications and University seniority will not be the
as sole determining factor in the selection process.
ap
C To this end, a new custodial service model has jointly been developed which is referred to
CO as the Custodial Team Performance and Leadership Program. The program is a new business
Se mode for providing custodial services to University buildings that is intended to yield higher
Ee levels of customer satisfaction, quality of service and productivity.
a An important element of the program was the creation of a new local 35 position called
‘se the Custodial Team Leader which is classified at grade 10. The job was posted on June 17,
© 2009. Bids are being accepted from June 17, 2009 through 9:00 AM on Monday, June 29",
O 2009.
@ Originally, the deadline for applicant reference letters (you will need to provide a minimum
3 of three letters of recommendation) were also due no later than 9:00 am on Monday, June
Cr 29th, but we have extended the date for the letters being recelved by end of business, on
Oy Thursday, July 2, 2009.
@)
EP i
o Dates/times to remember:
@Q * FRIDAY, JUNE 26, 2009: Human Resources will be moving their offices
ED today. Applicants can either enter their bid on-line (through the STARS
ae system) or can be done manually and deposited in the secured mail slot
2 provided for Human Resources at 155 Whitney. We will pick them up at
SS, the end of the day.
@ * MONDAY, JUNE 29, 2009: All musts must be received by Human
CY Resources no later than 9:00 am. (NOTE: Human Resources will now be in
CO their new location at 221 Whitney Avenue
2 THURSDAY, JULY 2. 2009: DEADLINE FOR ALL REQUIRED REFERENCE
oS, LETTERS. THEY MUST BE RECEIVED BY HUMAN RESOURCES NO LATER
Os: THAN END OF BUSINESS ON THURSDAY, JULY 2ND, 2009. _~ ftotimene
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